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15                              UNITED STATES DISTRICT COURT
16
                               CENTRAL DISTRICT OF CALIFORNIA
17

18
         JANE DOE 1, individually and on behalf            No.
19       of all others similarly situated.
20
                                        Plaintiff,         CLASS ACTION COMPLAINT
21
                  v.
22

23       THE WEINSTEIN COMPANY
         HOLDINGS, LLC, MIRAMAX, LLC,                      JURY TRIAL DEMANDED
24
         HARVEY WEINSTEIN, and JOHN
25       DOES 1-50, inclusive,
26
                                     Defendants.
27

28


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18
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 1             Jane Doe 1, individually and on behalf of all women who (i) met with Harvey
 2
         Weinstein (“Weinstein”) in person to audition for or to discuss involvement in a
 3

 4
         project to be produced or distributed by The Weinstein Company Holdings, LLC

 5       (“TWC”), and/or (ii) met with Harvey Weinstein in person to audition for or to discuss
 6
         involvement in a project to be produced or distributed by Miramax LLC (“Miramax”),
 7

 8       allege as follows:

 9                                     I.     INTRODUCTION
10             1.     The proverbial “casting couch” was Harvey Weinstein’s office of choice,
11
         a choice facilitated and condoned by TWC and Miramax. Plaintiff, and hundreds of
12

13       other female actors like her, found themselves with Weinstein on the casting couch at

14       offices, in hotel rooms, or at rooms at industry functions. Under the guise of meetings
15
         ostensibly to help further Class Members’ careers or hire them for roles, Weinstein
16

17       isolated Plaintiff and the Class Members in an attempt to engage in unwanted sexual

18       conduct that took many forms: flashing, groping, fondling, battering, sexual assault,
19
         attempted rape and/or completed rape.
20

21             2.     Plaintiff and Members of the Class wanted to have careers in the film
22       and/or TV industry and understood that Weinstein was a powerful force in the
23
         production world. At all times, Plaintiff and the Class operated under duress and the
24

25       threat of being blacklisted by Weinstein and major film producers such as Miramax if
26       they refused Weinstein’s unwanted sexual advances or complained about his behavior.
27
         To the extent a woman was “lucky” enough to escape physically unscathed,
28
                                                 -3-
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 1       Weinstein’s behavior (and the fact it was facilitated by TWC and Miramax, the
 2
         “Complicit Producers”) nonetheless caused injury to their business prospects, career,
 3

 4
         reputation, and severe emotional distress.

 5             3.     Weinstein’s power and the pervasiveness of his misconduct was recently
 6
         summarized in The New Yorker as follows:
 7

 8                    Since the establishment of the first studios, a century ago, there
                      have been few move executives as dominant, or as
 9                    domineering, as Harvey Weinstein. He co-founded the
10                    production-and-distribution companies Miramax and the
                      Weinstein Company, helping to reinvent the model for
11                    independent films with movies including “Sex, Lies, and
12                    Videotape,” “The Crying Game,” “Pulp Fiction,” “The English
                      Patient,” “Shakespeare in Love,” and “The King’s Speech.”
13                    Beyond Hollywood, he has exercised his influence as a prolific
14                    fund-raiser for Democratic Party candidates, including Barack
                      Obama and Hillary Clinton. Weinstein combined a keen eye
15                    for promising scripts, directors, and actors with a bullying, even
16                    threatening, style of doing business, inspiring both fear and
                      gratitude. His movies have earned more than three hundred
17                    Oscar nominations, and, at the annual awards ceremonies, he
18                    has been thanked more than almost anyone else in movie
                      history, ranking just after Steven Spielberg and right before
19                    God.
20
                      For more than twenty years, Weinstein, who is now sixty-five,
21                    has also been trailed by rumors of sexual harassment and
                      assault. His behavior has been an open secret to many in
22
                      Hollywood and beyond, but previous attempts by many
23                    publications, including The New Yorker, to investigate and
                      publish the story over the years fell short of the demands of
24
                      journalistic evidence. Too few people were willing to speak,
25                    much less allow a reporter to use their names, and Weinstein
26
                      and his associates used nondisclosure agreements, payoffs, and
                      legal threats to suppress their accounts. Asia Argento, an
27                    Italian film actress and director, said that she did not speak out
28
                      until now—Weinstein, she told me, forcibly performed oral sex
                                                -4-
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 1                    on her—because she feared that Weinstein would “crush” her.
 2
                      “I know he has crushed a lot of people before,” Argento said.
                      “That’s why this story—in my case, it’s twenty years old, some
 3                    of them are older—has never come out.”
 4                    On October 5th, The New York Times, in a powerful report by
 5                    Jodi Kantor and Megan Twohey, revealed multiple allegations
                      of sexual harassment against Weinstein, an article that led to the
 6
                      resignation of four members of the Weinstein Company’s all-
 7                    male board, and to Weinstein’s firing.1
 8              4.    Weinstein’s widespread sexual misconduct did not occur without the help
 9
         of others. Rather, over time, Weinstein enlisted the aid of other firms and individuals
10

11       to facilitate and conceal his pattern of unwanted sexual conduct. This coalition of

12       firms and individuals became part of the growing “Weinstein Sexual Enterprise,” a
13
         RICO enterprise. The Weinstein Sexual Enterprise had many participants and grew
14

15       over time as the obfuscation of Weinstein’s conduct became more difficult to conceal

16       and included: (i) TWC, Weinstein, and Miramax, all of whom are responsible for
17
         Weinstein’s sexual offenses because Weinstein acted within the scope of his
18

19       employment and/or these entities ratified or concealed Weinstein’s conduct
20       (collectively, the “Weinstein Participants”); (ii) third parties Kroll Associates, Inc. and
21
         Corporate Risk Holdings, LLC (“Kroll”), a global leader in corporate intelligence;
22

23       B.C. Strategy U.K. Ltd. (“Black Cube”), a company comprised of a “select group of
24       veterans from the Israeli elite intelligence units that specializes in tailored solutions to
25

26
            1
              https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
27       allegations.html.
28
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 1       complex business and litigation challenges”2; Jack Palladino and Sara Ness of
 2
         Palladino & Sutherland; and other investigators whose identities are currently
 3

 4
         unknown (collectively, the “Intelligence Participants”); (iii) lawyers and law firms,

 5       including, but not limited to, David Boies and Boies Schiller Flexner LLP; K&L
 6
         Gates; BCL Burton Copeland; and Gross, Kleinhandler, Hodak, Halevy, Greenberg&
 7

 8       Co. (collectively, the “Law Firm Participants”); (iv) co-producers of Miramax and

 9       TWC and other entertainment industry members (the “Film Participants”); and (v)
10
         journalists, including an unnamed freelance reporter, along with reporters from and the
11

12       chief content officer (Dylan Howard) for American Media Inc., which publishes the

13       National Enquirer (collectively, “Journalist Participants”). The identities of many of
14
         the members of the Weinstein Sexual Enterprise are currently unknown but
15

16       discoverable through the discovery process.

17              5.    After the initial assault(s) were over, Weinstein engaged or directed
18
         private investigators, a “global provider of risk solutions,” lawyers, and others
19

20       (collectively, the “Weinstein Sexual Enterprise”) or, as The New Yorker calls it,
21       “Weinstein’s Army of Spies”3) to harass, threaten, extort, and mislead his victims and
22
         the media to prevent the prosecution, reporting, or disclosure of his sexual misconduct.
23

24       Weinstein and members of the Weinstein Sexual Enterprise also either directed or
            2
25            See www.blackcube.com (last accessed November 7, 2017).
            3
26            Ronan Farrow, “Harvey Weinstein’s Army of Spies,” The New Yorker (Nov. 6,
         2017), available at https://www.newyorker.com/news/news-desk/harvey-weinsteins-
27       army-of-spies/amp (last accessed November 7, 2017).
28
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 1       facilitated the Weinstein Sexual Enterprise’s destruction, mutilation, and concealment
 2
         of records, documents, and/or other evidence in an effort to prevent the use of such
 3

 4
         evidence to reveal his sexual offenses.

 5             6.     The Weinstein Sexual Enterprise’s long-running practice of isolating and
 6
         blacklisting Weinstein’s victims and covering up Weinstein’s predatory tactics should
 7

 8       not be permitted to overcome the interests of the Plaintiff and the Class Members to

 9       proceed collectively, with strength together, in a unified manner in this class action.
10
         Plaintiff will seek certification of a Rule 23(c)(4) class for liability for violations of the
11

12       Racketeer Influenced and Corrupt Organizations Act (“RICO”), civil battery, assault,

13       and intentional and negligent infliction of emotional distress against the Complicit
14
         Producers and Weinstein. Plaintiff will also seek certification of a Rule 23(c)(4) class
15

16       for liability against the Complicit Producers for the negligent supervision or retention

17       of an unfit officer, director and/or employee. Defendants’ conduct has caused
18
         widespread damage, including personal injury, emotional distress, and damage to the
19

20       careers of Plaintiff and the Class, for which Defendants must be held responsible.
21                                II.    JURISDICTION AND VENUE
22             7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331,
23
         because this action arises under the laws of the United States, and 18 U.S.C.
24

25       § 1964(c), because this action alleges violations of the Racketeer Influenced Corrupt
26       Organizations Act (“RICO”), 18 U.S.C. § 1962.
27

28
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 1              8.     This Court also has subject-matter jurisdiction pursuant to the Class
 2
         Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action,
 3

 4
         including claims asserted on behalf of a nationwide class, filed under Rule 23 of the

 5       Federal Rules of Civil Procedure; there are dozens, and likely hundreds, of proposed
 6
         Class members; the aggregate amount in controversy exceeds the jurisdictional
 7

 8       amount or $5,000,000.00; and the Complicit Producers are citizens of a State different

 9       from that of Plaintiff and members of the Class. This Court also has subject matter
10
         jurisdiction over Plaintiff’s and the proposed Class’s claims pursuant to 28 U.S.C.
11

12       § 1367(a).

13              9.     Venue is proper in this District under 28 U.S.C. § 1391 (a)–(d) because,
14
         inter alia, substantial parts of the events or omissions giving rise to the claim occurred
15

16       in the District and/or a substantial part of property that is the subject of the action is

17       situated in the District.
18
                                           III.   THE PARTIES
19
         A.     Plaintiff
20
                10.    Plaintiff Jane Doe 1 is a citizen of the United States and a resident of
21

22       Lancaster, California. As set forth more fully below, Jane Doe 1 auditioned with
23
         Weinstein for a part in a Miramax production. During her audition, Jane Doe 1 was
24
         assaulted by Weinstein, threatened, falsely imprisoned, and suffered emotional and
25

26       physical distress, and was injured in her property or livelihood as a result of
27
         Weinstein’s actions. Weinstein told Jane Doe 1 that if she refused his advances and
28
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 1   his requests, he would ruin her, and he ultimately withdrew the offer he had given her
 2
     for a part because she would not accede to his advances.
 3

 4   B.    Defendants

 5         11.   Defendant The Weinstein Company Holdings, LLC is a Delaware limited

 6   liability company whose principal place of business is in New York, New York.
 7
           12.   Defendant Miramax LLC is a Delaware corporation headquartered in
 8

 9   Santa Monica, California.
10         13.   Defendant Harvey Weinstein is a citizen of the United States and a
11
     resident of New York, New York.
12

13                                       IV.     FACTS
14   A.    Weinstein’s power in the entertainment industry – from his time at both
           Miramax and TWC – was extensive.
15
           14.   In the late 1970s, using profits from their concert promotion business,
16

17   brothers Harvey and Bob Weinstein created a small independent film-distribution
18   company named Miramax, named after their parents, Miriam and Max. The
19
     company’s first releases were primarily music-oriented concert films such as Paul
20

21   McCartney’s Rockshow. The Secret Policeman’s Other Ball released in May 1982,
22
     became Miramax’s first hit. The Weinsteins slowly built upon this success throughout
23
     the 1980s with films that achieved critical attention and modest commercial success.
24

25   Harvey Weinstein and Miramax gained wider attention in 1988 with the release of
26
     Errol Morris’ documentary The Thin Blue Line, which detailed the struggle of Randall
27
     Adams, a wrongfully convicted Death Row inmate. The publicity that soon
28
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 1   surrounded the case resulted in Adams’ release and nationwide publicity for Miramax.
 2
     In 1989, Steven Soderbergh’s Sex, Lies, and Videotape propelled Miramax to become
 3

 4
     the most successful independent studio in America.

 5         15.    Miramax continued to grow its library of films and directors. In 1993,
 6
     after the success of The Crying Game, Disney offered to purchase Miramax from the
 7

 8   Weinsteins for $80 million. The Weinstein brothers agreed to the deal, which

 9   promised to cement their Hollywood clout and ensure that they would remain at the
10
     head of their company. The next year, Miramax released its first blockbuster, Quentin
11

12   Tarantino’s Pulp Fiction, and distributed the popular independent film Clerks.

13         16.    Miramax won its first Academy Award for Best Picture in 1997 with the
14
     victory of The English Patient (Pulp Fiction was nominated in 1995 but lost to Forrest
15

16   Gump). This started a string of critical successes that included Good Will Hunting

17   (1997) and Shakespeare in Love (1998), both of which won numerous Academy
18
     Awards.
19

20         17.    The Weinstein brothers left Miramax on September 30, 2005, to form
21   their own production company, TWC, with several other media executives.
22
           18.    Attached as Exhibit A is a list of Weinstein-produced films that
23

24   demonstrates his power and influence in the film industry.
25         19.    Plaintiff and the Class were aware of Weinstein’s ability to make or break
26
     their careers. Moreover, Weinstein wielded and was outspoken about his power and
27

28   ability to either launch their careers or ruin them forever.
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 1   B.       Weinstein’s predatory behavior followed a pattern designed for his
              personal gratification at the expense of Plaintiff and the Class.
 2

 3
              20.   Wielding this unfettered power in the movie and television industry,

 4   Weinstein has admitted that his predatory and sexually harassing behavior toward
 5
     female actresses was his modus operendi. For example, in an audio recording captured
 6

 7   during a 2015 New York Police Department sting operation, Weinstein admitted that

 8   he groped a female model named Ambra Battilana Gutierrez, describing it as behavior
 9
     he is “used to.”4
10

11            21.   An executive who worked for Weinstein for many years reportedly told

12   The New Yorker: “This wasn’t a one-off. This wasn’t a period of time. This was
13
     ongoing predatory behavior toward women—whether they consented or not.”5
14

15            22.   The way in which Weinstein set up, harassed and assaulted Plaintiff and

16   the members of the Class followed a pattern. As The New York Times explained:
17
                    Across the years and continents, accounts of Mr. Weinstein’s
18                  conduct share a common narrative: Women reported to a
19                  hotel for what they thought were work reasons, only to

20        4
           An audio recording of Weinstein aggressively trying to persuade Ambra Battilana
21   Gutierrez, a model, to come into his hotel room in 2015 while he showered was
     published by The New Yorker on October 10, 2017 and is available at
22
     https://www.youtube.com/watch?v=JVu02qk3-Jc (last accessed November 2, 2017). It
23   is also available with closed captioning at https://www.newyorker.com/news/news-
     desk/from-aggressive-overtures-to-sexual-assault-harvey-weinsteins-accusers-tell-
24   their-stories (last accessed November 2, 2017). When Ms. Battilana refused Mr.
     Weinstein, saying “I don’t want to be touched” and “Please, I don’t want to do
25   something I don’t want to do,” he tells her, “Don’t ruin your friendship with me” and
26   “Never call me again.” Id.
         5
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
28
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 1                discover that Mr. Weinstein, who has been married for most
 2
                  of three decades, sometimes seemed to have different
                  interests. His home base was New York, but his rolling
 3                headquarters were luxury hotels: the Peninsula Beverly Hills
 4
                  and the Savoy in London, the Hôtel du Cap-Eden-Roc near
                  the Cannes Film Festival in France and the Stein Eriksen
 5                Lodge near the Sundance Film Festival.6
 6
            23.   An employee who worked for Weinstein told The New Yorker that “the
 7

 8   pattern of meetings was nearly uninterrupted in her years of working for Weinstein.”7

 9          24.   Since October 10, 2017, more than 60 women have reported that
10
     Weinstein used his power in the entertainment industry to sexually harass them. On
11

12   information and belief, these reports are just the beginning of the revelation of the full

13   scope of Weinstein’s misconduct. All of these reports follow the same pattern. For
14
     illustrative purposes of Weinstein’s pattern and practice of sexual harassment against
15

16   Plaintiff and the Class, Plaintiff provides the following non-exhaustive list of

17   examples of Weinstein’s predatory behavior:
18
            25.   Weinstein’s pattern of using the guise of helping female actresses with
19

20   their careers was typically the start:
21                a.     After Weinstein hired her for the lead in Emma, but before
22                       shooting began in or about 1994, Gwyneth Paltrow received a
                         faxed schedule from her agents at Creative Artists Agency
23

24

25      6
           https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
26   allegations.html.
         7
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
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 1                     scheduling a meeting with Weinstein in his suite at the Peninsula
 2
                       Beverly Hills for a work meeting.8

 3               b.    In 1996, starring in a new film to which Miramax had just obtained
                       the rights, Judith Godrèche was invited to a breakfast meeting with
 4                     Weinstein and a female executive to discuss the movie.9
 5
                 c.    Asia Argento, a 21-year-old actress with a role in a Miramax film
 6                     released in the United States in 1999, was told during filming in
 7                     1997 to attend a party thrown by Miramax at a hotel and was
                       brought to the hotel by another producer.10
 8
                 d.    In the 1990s, Rosanna Arquette was supposed to meet Weinstein
 9
                       for dinner at a hotel to pick up the script for a new film.11
10
                 e.    In the 1990s, Weinstein invited Ashley Judd to the Peninsula Hotel
11                     for a business breakfast meeting.12
12
                 f.    In or about 1997, Weinstein invited himself to Mira Sorvino’s
13                     apartment – after midnight – to tell her about “new marketing
                       ideas” for a film she was in.13
14

15               g.    In 2003, acting in small gigs, Dawn Dunning was invited by
                       Weinstein’s assistant to a meal with Weinstein at a New York
16                     hotel.14
17

18      8
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-harvey-
     weinstein.html?article-sidebar.
19       9
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-harvey-
20   weinstein.html?article-sidebar.
         10
21          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
22       11
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
23   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         12
24          https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
     allegations.html.
25       13
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
26   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         14
            https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
27   harvey-weinstein.html?article-sidebar.
28
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 1                 h.    Wanting to be an actress, Lucia Stoller was approached by
 2
                         Weinstein in 2004, who had an assistant call to set up a daytime
                         meeting at the Miramax office in Tribeca, first with Weinstein and
 3                       then with a casting executive, who was a woman (which made
 4
                         Lucia feel safer).15

 5                 i.    In 2010, Weinstein told actress Emma de Caunes he was interested
                         in casting her in the lead role of a movie adapted from a book,
 6
                         asking her to come to his hotel room after lunch to get the book.
 7
                   j.    In January 2011, Weinstein invited Jessica Barth to a business
 8                       meeting at the Peninsula Hotel to talk “career stuff.” 16
 9
             26.   When the actresses arrived for their “meeting,” they were isolated from
10
     the public and employees:
11

12                 a.    Although Lucia Stoller’s meeting took place at Miramax, “[s]he
                         was led to an office with exercise equipment in it, and takeout
13
                         boxes on the floor. Weinstein was there, alone.”17
14
                   b.    A producer led Asia Argento to what she thought was a Miramax
15                       party at a hotel, taking her to a hotel room “empty but for
16                       Weinstein.”18

17                 c.    When Rosanna Arquette showed up for dinner at a hotel restaurant
                         with Weinstein, she was told to meet him in his room.19
18

19                 d.    When Jessica Barth arrived at the Peninsula Hotel for a business
                         meeting, Weinstein told her on the phone to come to his room.20
20
        15
21         https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
22      16
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
23   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
        17
24         https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
25      18
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
26   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
        19
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
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 1                 e.    When Ashley Judd arrived at the Peninsula Hotel for a business
 2
                         meeting, she was told to meet him in his room.21

 3                 f.    After a breakfast meeting with Weinstein and a female executive,
                         the female executive left, leaving Judith Godrèche alone with
 4                       Weinstein, who told her to join him in his room to discuss the
 5                       film’s marketing and an Oscar campaign.22
 6                 g.    When Dawn Dunning arrived at the hotel for a meeting, she was
 7                       told that Weinstein’s earlier meeting was running late and to head
                         up to his suite.23
 8
             27.   Once isolated, Weinstein battered, assaulted or attempted to assault the
 9

10   women:
11
                   a.    Rose McGowan: In a hotel room in 1997, “…HW raped me.”24
12
                   b.    Lucia Stoller: “‘He forced me to perform oral sex on him.’ As she
13                       objected, Weinstein took his penis out of his pants and pulled her
14                       head down onto it. ‘I said, over and over, ‘I don’t want to do this,
                         stop, don’t.’’”25
15
                   c.    Asia Argento: Weinstein left the hotel room and returned “wearing
16
                         a bathrobe and holding a bottle of lotion. ‘He asks me to give a
17                       massage. I was, like, ‘Look, man, I am no fucking fool.’” “[A]fter
                         she reluctantly agreed to give Weinstein a massage, he pulled her
18

19      20
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
20   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         21
21          https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
     allegations.html.
22       22
            https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
23   harvey-weinstein.html?article-sidebar.
         23
24          https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
     harvey-weinstein.html?article-sidebar.
25       24
            https://www.thesun.co.uk/news/4673738/rose-mcgowan-harvey-weinstein-rape-
26   claims-amazon-jeff-bezos/, quoting tweet from Rose McGowan.
         25
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
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 1                     skirt up, forced her legs apart, and performed oral sex on her as she
 2
                       repeatedly told him to stop.” 26

 3               d.    Mira Sorvino: In a hotel room, Weinstein started massaging her
                       shoulders and then chased her around the room.27
 4

 5               e.    Sophie Dix: Weinstein masturbated in front of her after Dix said
                       “no a thousand times,” causing Dix to lock herself in the
 6                     bathroom.28
 7
                 f.    Emma de Caunes: Weinstein went into the hotel bathroom, turned
 8                     on the shower, returned naked with an erection, and demanded she
                       lie on the bed.29
 9

10               g.    Rosanna Arquette: Weinstein answered his hotel door in a
                       bathroom, tried to force Arquette to give him a neck massage, and
11                     pulled her hand toward his erect penis.30
12
                 h.    Jessica Barth: Weinstein demanded a naked massage in his bed.31
13
                 i.    Ashley Judd: Weinstein appeared in a bathrobe, asking if he could
14                     give her a massage or she could watch him shower.32
15
                 j.    Gwyneth Paltrow: Weinstein touched her, suggesting they head to
16                     his bedroom for massages.33
17

18      26
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
19       27
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
20   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         28
21          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
22       29
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
23   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         30
24          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
25       31
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
26   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         32
            https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
27   allegations.html.
28
                                          - 16 -
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 1              k.    Angelina Jolie: Weinstein made unwanted advances on her in a
 2
                      hotel room.34

 3              l.    Katherine Kendall: Weinstein undressed and chased her around a
                      living room.35
 4

 5              m.    Judith Godrèche: After Godrèche declined to give him a massage,
                      “he’s pressing against me and pulling off my sweater.”36
 6
                n.    Dawn Dunning: In his bathrobe, Weinstein told Dunning that he
 7
                      had contracts for her for his next three films, but that she could
 8                    only sign them if she would have three-way sex with him. When
                      Dunning laughed, assuming Weinstein was joking, Weinstein
 9
                      became angry, stating: “You’ll never make it in this business. This
10                    is how the business works.”37
11              o.    Darryl Hannah: On multiple occasions, Weinstein tried to barge
12                    into her hotel room at night; she escaped out back doors; she used
                      furniture to bar the door; and she had her male make-up artists
13                    present when Weinstein was able to secure a key to her room
14                    without her consent. The New Yorker reported: Weinstein “’had a
                      key,’ Hannah recalled. ‘He came through the living room and into
15                    the bedroom. He just burst in like a raging bull. And I know with
16                    every fibre of my being that if my male makeup artist was not in
                      that room, things would not have gone well. It was scary.’
17                    [Hannah’s make-up artist] remembered the incident vividly. ‘I was
18                    there to keep her safe,’” he told The New Yorker.38

19      33
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
20   harvey-weinstein.html?article-sidebar.
        34
21         https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
     harvey-weinstein.html?article-sidebar.
22      35
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
23   harvey-weinstein.html?article-sidebar.
        36
24         https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
     harvey-weinstein.html?article-sidebar.
25      37
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
26   harvey-weinstein.html?article-sidebar.
        38
           https://www.newyorker.com/news/news-desk/weighing-the-costs-of-speaking-
27   out-about-harvey-weinstein (last accessed November 7, 2017).
28
                                        - 17 -
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 1                 p.    Paz de la Huerta – first rape: In November 2010, Weinstein offered
 2
                         de la Huerta a cab ride home after bumping into her at a hotel bar
                         in New York and then demanded to come in for a drink:
 3                       “’Immediately when we got inside the house, he started to kiss me
 4
                         and I kind of brushed [him] away,’ de la Huerta said. ‘Then he
                         pushed me onto the bed and his pants were down and he lifted up
 5                       my skirt. I felt afraid. . . . It wasn’t consensual . . . It happened very
 6                       quickly. . . . He stuck himself inside me. . . . When he was done he
                         said he’d be calling me. I kind of just laid on the bed in shock.’”39
 7
                   q.    Paz de la Huerta – second rape: In December 2010, Weinstein
 8
                         showed up in her building lobby after she came home from a photo
 9                       shoot: “’He hushed me and said, ‘Let’s talk about this in your
                         apartment,’” de la Huerta said. ‘I was in no state. I was so terrified
10
                         of him. . . . I did say no, and when he was on top of me I said, ‘I
11                       don’t want to do this.’ He kept humping me and it was disgusting.
                         He’s like a pig. . . . He raped me.’”40
12

13           28.   These were not isolated instances, but the practiced role and pattern of a

14   predator. Like these Class Members and countless others, Plaintiff’s experiences
15
     followed the same script:
16

17           29.   While at an audition on the first floor of a building also occupied by

18   Miramax, an associate of Weinstein’s invited Jane Doe 1 to meet Weinstein in his
19
     private office on another floor, because he was reportedly casting a film and was
20

21   looking for an actress who had her “look”. The meeting was timed for the end of the
22   workday. Jane Doe 1 shook hands, provided her headshot and resume to Weinstein
23
     and engaged in cordial pleasantries and polite conversation. Weinstein then asked her
24

25      39
          https://www.vanityfair.com/hollywood/2017/11/paz-de-la-huerta-harvey-
26   weinstein-allegations (last accessed November 7, 2017).
       40
          https://www.vanityfair.com/hollywood/2017/11/paz-de-la-huerta-harvey-
27   weinstein-allegations.
28
                                             - 18 -
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 1   to read from a script, explaining that he was looking for a new face with a “very
 2
     European look.” Jane Doe 1 and Weinstein then read from three pages of the untitled
 3

 4
     script; she read a few more pages with him upon his request. Weinstein appeared very

 5   happy and pleased and told her he had several other projects she might “be right for.”
 6
     He told Jane Doe 1 that she was “exactly what I am looking for” and that she had
 7

 8   gotten the part and told her to take the script home to study. Jane Doe 1 placed the

 9   script in her briefcase and prepared to leave. Weinstein then told her he “just needed
10
     one more thing from you.” He asked her to disrobe and explained he needed to see her
11

12   breasts, repeatedly stating, “It’s just your breasts.” When Jane Doe 1 refused

13   repeatedly, Weinstein told her to “take your dress down” and “you are going to need
14
     to expose them.” Weinstein told Jane Doe 1 that the role required him to review and
15

16   approve of her breasts. Jane Doe 1, realizing she was about to be sexually assaulted,

17   was terrified.
18
           30.    When Jane Doe 1 continued to refuse, Weinstein angrily inquired
19

20   whether she knew who he was, told her he could “make” her or “break” her, and that
21   she would “never work in this town again.” “You know, I could launch your career
22
     and I can make you or I can break you,” he insisted, again demanding that she expose
23

24   her breasts. Weinstein then told Jane Doe 1 to “Give me my script back.” Weinstein
25   was belligerent and ranting. He told her, “Without me, you will never work again.”
26
           31.    Weinstein then told Jane Doe 1 to show herself out and advised her she
27

28   could not use the main door. He corralled her to a side door that led into a pitch-black
                                           - 19 -
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 1   stairwell. He then locked the door behind her. Jane Doe 1, realizing she was locked
 2
     in, banged on the door and begged to be let out. Scared and upset, she panicked,
 3

 4
     walking up and down flights of stairs, banging on doors and yelling on each landing

 5   that she was locked in – all the while not knowing whether Weinstein would return
 6
     and assault her further. Terrified and sweating through her dress, Jane Doe 1 feared for
 7

 8   her safety and life. Finally, a maintenance worker heard her yelling and let her out;

 9   that worker immediately asked Jane Doe 1 if she was coming from Weinstein’s floor.
10
           32.    This assault was profoundly disturbing and life changing for Jane Doe 1.
11

12   As a result, Jane Doe 1 has changed how she conducts her life, pursues her career,

13   takes meetings and interacts with men both personally and professionally. She limits
14
     interactions that are one-on-one, even though those meetings are necessary to connect
15

16   and bond with both professional colleagues and personal acquaintances. Her

17   professional and personal interactions are thus limited by her fears generated by
18
     Weinstein’s assault. In other words, Jane Doe 1 lost the part Weinstein offered, lost
19

20   other opportunities at Miramax and TWC, and has lost other professional
21   opportunities as the consequence of Weinstein’s assault.
22
     C.    Miramax and TWC facilitated Weinstein’s predatory behavior.
23
           33.    The “Complicit Producers” Miramax and TWC often aided and abetted
24

25   Weinstein in the commission of his sexual misconduct. For example, female
26
     employees of TWC were often used as “honeypots” to make Weinstein’s victims feel
27
     safe. The “honeypots” would initially join a meeting along with a Class Member or
28
                                           - 20 -
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 1   woman in whom Weinstein was interested. Weinstein would dismiss the employee,
 2
     leaving him alone with his female target.41
 3

 4
             34.   Sixteen current and former executives and assistants at TWC told a

 5   reporter from The New Yorker about a pattern of professional meetings that were
 6
     pretexts for sexual advances on young actresses and models. “All sixteen said that the
 7

 8   behavior was widely known within both Miramax and the Weinstein Company.”42

 9           35.   Irwin Reiter, the Executive Vice President of Accounting and Financial
10
     Reporting at TWC from 2005 to the present and who previously worked in the same
11

12   capacity from 1989 to 2005 at Miramax,43 sent messages to Emily Nestor, a temporary

13   employee of TWC, who alleged that she was harassed, describing Weinstein’s
14
     “mistreatment of women” as a serial problem at TWC.44
15

16           36.   A female executive at the Complicit Producers told The New Yorker:

17   “There was a large volume of these types of meetings that Harvey would have with
18
     aspiring actresses and models.” “He would have them late at night, usually at hotel
19

20

21

22
        41
23         https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
24      42
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
25   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
        43
26         https://www.linkedin.com/in/irwin-reiter-58828a4/.
        44
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
28
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 1   bars or in hotel rooms. And, in order to make these women feel more comfortable, he
 2
     would ask a female executive or assistant to start those meetings with him.”45
 3

 4
             37.   A female employee at TWC, Lauren O’Connor, wrote in a memo

 5   obtained by The New York Times that Weinstein required her to schedule casting
 6
     discussions with aspiring actresses after they had private appointments in his hotel
 7

 8   room. “She suspected that she and other female Weinstein employees, she wrote, were

 9   being used to facilitate liaisons with ‘vulnerable women who hope he will get them
10
     work.’”46
11

12           38.   Mark Gil, the former president of Miramax Los Angeles from

13   approximately 1994 to 2002,47 told The New York Times that behind the scenes at
14
     Miramax, Weinstein’s treatment of women “was the biggest mess of all.”48
15

16           39.   TWC ratified Weinstein’s conduct – and found it an acceptable part of his

17   employment so long as it made a profit on it. According to TMZ.com, which
18
     reportedly obtained a copy of Weinstein's 2015 employment contract, Weinstein and
19

20   TWC agreed that “if he gets sued for sexual harassment or any other ‘misconduct’ that
21

22
        45
23          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
24       46
            https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
25   allegations.html.
         47
26          http://articles.latimes.com/2002/oct/16/business/fi-gill16.
         48
            https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
27   allegations.html.
28
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 1   results in a settlement or judgment against TWC, all Weinstein has to do is pay what
 2
     the company’s out, along with a fine, and he’s in the clear.”49
 3

 4
               40.   Allegedly, the contract provides that, if Weinstein “‘treated someone

 5   improperly in violation of the company's Code of Conduct,’ he must reimburse TWC
 6
     for settlements or judgments. Additionally, ‘You [Weinstein] will pay the company
 7

 8   liquidated damages of $250,000 for the first such instance, $500,000 for the second

 9   such instance, $750,000 for the third such instance, and $1,000,000 for each additional
10
     instance.’”50
11

12             41.   Weinstein and TWC further agreed that Weinstein’s payment “constitutes

13   a ‘cure’ for the misconduct and no further action can be taken.”51
14
               42.   These provisions in an employment contract are unique – and reflect
15

16   TWC’s knowledge that Weinstein was more likely than not to engage in sexual

17   harassment and other misconduct affecting the Class and female employees.
18
     D.        TWC and Miramax are liable for Weinstein’s conduct, because it was
19             perpetuated within the scope of his employment.
20             43.   Miramax’s and TWC’s executives, officers and employees had actual
21
     knowledge of Weinstein’s repeated acts of sexual misconduct with women. In
22

23   particular, Defendants were aware of Weinstein’s pattern of using his power to coerce
24
          49
25         https://www.tmz.com/2017/10/12/weinstein-contract-the-weinstein-company-
     sexual-harassment-firing-illegal/ (last accessed November 7, 2017).
26      50
           Id.
        51
27         Id.
28
                                              - 23 -
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 1   and force young actresses to engage in sexual acts with him. This knowledge was
 2
     possessed by Defendants’ Board of Directors, including, upon information and belief,
 3

 4
     Bob Weinstein.

 5           44.   Defendants were aware of allegations of sexual misconduct against
 6
     Weinstein going back to the 1990s.
 7

 8           45.   Mira Sorvino, who was harassed by Weinstein, told a Miramax female

 9   employee about the harassment. Rather than shock and horror at Weinstein’s action,
10
     the employee’s reaction “‘was shock and horror that I had mentioned it.’”52
11

12           46.   Kathy DeClesis, Bob Weinstein’s assistant in the early 1990s at Miramax

13   stated to The New York Times: “It [Weinstein’s harassment of women] wasn’t a secret
14
     to the inner circle.”53
15

16           47.   Weinstein’s 2015 employment contract with TWC also reflects that the

17   acts of sexual harassment did or were highly likely to occur within the scope of his
18
     employment, providing contingency payments to cover the business expenses
19

20   associated with such occurrences.
21

22

23

24

25      52
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
26   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
         53
            https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
27   allegations.html.
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 1   E.    The Weinstein Sexual Enterprise harassed and misled Class members and
           the media with the intent to prevent the victims from reporting Weinstein’s
 2
           sexual misconduct and to destroy evidence of the sexual misconduct.
 3
           1.     Each member of the Weinstein Sexual Enterprise had a specific role
 4                in fulfilling their common purpose.

 5         48.    Throughout the Class Period, the Weinstein Sexual Enterprise had the

 6   common purpose of preventing (or attempting to prevent) the reporting, prosecution,
 7
     or disclosure of Weinstein’s sexual misconduct through harassment, threats, extortion,
 8

 9   and misrepresentations to Weinstein’s victims and the media. The Weinstein Sexual
10   Enterprise also shared the common purpose of destroying, mutilating, or concealing
11
     records, documents, or other evidence to prevent the use of such evidence to report,
12

13   prosecute, and/or publicize Weinstein’s sexual offenses, including, but not limited to,
14   the execution of non-disclosure agreements intended to cover up, squelch, and
15
     maintain the veil of secrecy around Weinstein’s offenses, with threat of legal
16

17   proceedings or financial duress if the victims were to disclose their experiences.
18         49.    Each member of the Enterprise played a role in directing and
19
     participating in the Weinstein Sexual Enterprise.
20

21         50.    The Weinstein Participants determined the members of the Weinstein
22
     Sexual Enterprise and assigned each member of the enterprise its task in fulfilling the
23
     common purpose of using false pretenses to prevent the publication or reporting of
24

25   Weinstein’s sexual misconduct and to destroy evidence. Weinstein monitored the
26
     progress of the investigations personally.
27

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 1         51.    The Complicit Producers, TWC and Miramax, each allowed Weinstein to
 2
     conduct business at their offices and were aware of his misconduct and agreed to
 3

 4
     conceal it so that they could continue to benefit from the lucrative collaboration with

 5   Weinstein.
 6
           52.    The Intelligence Participants targeted dozens of Class Members and
 7

 8   reporters, using false names and identities to gather information from them regarding

 9   Weinstein’s sexual offenses, recording conversations in violation of law, and
10
     compiling psychological profiles that focused on the Class Members’ personal or
11

12   sexual histories that could be used to extort those individuals’ silence. The Intelligence

13   Participants also destroyed or concealed evidence, including, but not limited to,
14
     documents and recordings.
15

16         53.    The Film Participants collected names of Class Members and reporters

17   with information concerning Weinstein’s sexual offenses and placed calls to the Class
18
     Members and reporters to intimidate them and prevent them from reporting
19

20   Weinstein’s sexual misconduct.
21         54.    The Law Firm Participants provided cover and shield to the Weinstein
22
     Participants by contracting with the Intelligence Participants on behalf of the
23

24   Weinstein Participants and permitting the Weinstein Participants to protect evidence
25   of Weinstein’s misconduct under the guise of the attorney-client privilege or the
26
     doctrine of attorney work product when that was not the case. The Law Firm
27

28
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 1   Participants also approved the Intelligence Participants’ “operational methodologies,”
 2
     which were illegal.
 3

 4
             55.   The Journalist Participants also gathered information from Weinstein’s

 5   victims regarding Weinstein’s sexual offenses under the pretense of writing a story,
 6
     illegally recorded conversations, and compiled profiles that focused on their personal
 7

 8   or sexual histories that could be used to extort those individuals’ silence.

 9           2.    The Weinstein Sexual Enterprise, or “Army of Spies”, engaged in a
                   pattern of racketeering activity.
10
             56.   As an example of how the Enterprise worked, in 2016 and 2017,
11

12   Weinstein learned that several reporters were talking to Class Members regarding their
13
     allegations of rape, battery and assault by Weinstein. Weinstein directed the Law Firm
14
     Participant Boies Schiller to retain the Intelligence Participant Black Cube to
15

16   investigate which Class Members were providing information, to gather intelligence to
17
     prevent the reporting or publication of the accusations, and to secretly record Class
18
     Members’ conversations.54
19

20           57.   Boies Schiller and Black Cube signed a contract to help Weinstein Sexual
21
     Enterprise in October 2016. They also signed several subsequent contracts for the
22
     same purposes. On or about October 28, 2016, Boies Schiller wired Black Cube an
23

24   initial payment of $100,000 to fulfill those purposes. 55
25

26      54
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      55
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1           58.   Rose McGowan intended to publish a book detailing how Weinstein
 2
     raped her in 1997. Weinstein directed the Law Firm Participant Boies Schiller to retain
 3

 4
     the Intelligence Participant Black Cube to prevent the reporting of the rape, 56 and

 5   Black Cube agreed to do so.
 6
             59.   Boies Schiller did retain Black Cube with a contract dated July 11, 2017,
 7

 8   providing that the project’s “primary objectives” are to “provide intelligence which

 9   will help the Client’s efforts to completely stop the publication of a new negative
10
     article in a leading NY newspaper” and to “obtain additional content of a book which
11

12   currently being written and includes harmful negative information on and about the

13   Client,” who allegedly is identified as Weinstein in multiple documents obtained by
14
     The New Yorker. 57
15

16           60.   The July 11, 2017 contract included several “success fees” if Black Cube

17   met its goals, including $300,000 if the agency “provide[d] intelligence which will
18
     directly contribute to the efforts to completely stop the Article from being published at
19

20   all in any shape or form” and $50,000 if it secured “the other half” of McGowan’s
21   book “in readable book and legally admissible format.” 58
22

23

24

25      56
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
26      57
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      58
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1           61.   The contract between Boies Schiller and Black Cube included a
 2
     description of the duplicitous tactics to be used to accomplish the objectives of the
 3

 4
     Weinstein Sexual Enterprise. 59

 5           62.   Black Cube agreed to provide “a dedicated team of expert intelligence
 6
     officers that will operate in the USA and any other necessary country,” including a
 7

 8   project manager, intelligence analysts, linguists, and “Avatar Operators” specifically

 9   hired to create fake identities on social media, along with “operations experts with
10
     extensive experience in social engineering.” The agency also said that it would
11

12   provide “a full time agent by the name of ‘Anna’ (hereinafter ‘the Agent’), who will

13   be based in New York and Los Angeles as per the Client’s instructions and who will
14
     be available full time to assist the Client and his attorneys for the next four months.”
15

16   According to The New Yorker, four sources with knowledge of Weinstein’s work with

17   Black Cube confirmed that this was the same woman who would meet with McGowan
18
     and Wallace under false pretenses. 60
19

20           63.   Black Cube also agreed to hire “an investigative journalist, as per the
21   Client request,” who would be required to conduct ten interviews a month for four
22
     months and be paid forty thousand dollars. Black Cube agreed to “promptly report to
23

24   the Client the results of such interviews by the Journalist.” 61
25
        59
26
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
        60
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      61
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1           64.   Black Cube did fulfill its contract with Boies in furtherance of the
 2
     Weinstein Sexual Enterprise’s objectives. In May, 2017, Rose McGowan received an
 3

 4
     e-mail from a literary agency introducing her to a woman who identified herself as

 5   Diana Filip, the deputy head of sustainable and responsible investments at Reuben
 6
     Capital Partners, a London-based wealth-management firm. In reality, Filip was an
 7

 8   employee of Black Cube, which had developed the fictional Reuben Capital Partners.

 9   According to The New Yorker, “Diana Filip” was an alias for a former officer in the
10
     Israeli Defense Forces who originally hailed from Eastern Europe. 62
11

12           65.   Duplicitously claiming in an email that she was launching an initiative to

13   combat discrimination against women in the workplace, Filip asked McGowan to
14
     speak at a gala kickoff event for a fee of sixty thousand dollars. Using false pretenses,
15

16   Filip met with McGowan on at least four occasions, including at the Peninsula Hotel

17   in Beverly Hills, in hotel bars in Los Angeles and New York, and on the Venice
18
     boardwalk. Filip repeatedly told McGowan that she wanted to make a significant
19

20   investment in McGowan’s production company. The purpose of these meetings, which
21   were secretly recorded by the Intelligence Participant Black Cube, was to secretly
22
     extract information regarding Weinstein and to prevent the publication of McGowan’s
23

24   book and/or the reporting of accusations against Weinstein. 63
25

26      62
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      63
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1           66.   At one meeting in September 2017, Filip was joined by another Black
 2
     Cube operative, who used the name Paul and claimed to be Filip’s colleague at
 3

 4
     Reuben Capital Partners. The purpose of the meeting was to pass McGowan to another

 5   operative to extract more information. 64
 6
             67.   Black Cube used information extracted from McGowan regarding
 7

 8   McGowan’s reporting of the rape to a reporter at The New Yorker to contact the

 9   reporter in an attempt to prevent the publication of the accusation. 65
10
             68.   In 2016, Black Cube’s Filip used a second alias, “Anna,” to meet twice
11

12   with Ben Wallace, a reporter from New York who was working on a story about

13   Weinstein, suggesting she had an allegation against Weinstein. However, Anna never
14
     shared information, but instead pushed the reporter for information about what he
15

16   knew and who he was talking to. During their second meeting, Anna requested that

17   they sit close together, leading Wallace to suspect that she was secretly recording their
18
     conversation. 66
19

20           69.   Filip also allegedly used her alias to email Jodi Kantor, a reporter for The
21   New York Times, regarding a story about Weinstein. 67
22

23

24
        64
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
25      65
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
26      66
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      67
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1           70.      Black Cube also retained a freelance journalist to further the objectives of
 2
     the Weinstein Sexual Enterprise, providing the journalist with contact information for
 3

 4
     actresses, journalists, and Weinstein’s business rivals. The freelancer conducted

 5   interviews to be used by the Weinstein Sexual Enterprise and provided summaries of
 6
     those interviews to Black Cube, which then sent the summaries to one or more Law
 7

 8   Firm Participants, including Boies Schiller. 68

 9           71.      In January 2017, the freelance journalist called McGowan and secretly
10
     recorded their lengthy conversation. He also contacted other Class Members
11

12   (including the actress Annabella Sciorra) and reporters Ben Wallace from New York

13   and Ronan Farrow from The New Yorker in furtherance of the objectives of the
14
     enterprise. 69
15

16           72.      Weinstein also enlisted Dylan Howard, the chief content officer of

17   American Media Inc., which publishes the National Enquirer, to have his reporters
18
     obtain information that would discredit McGowan. Howard obtained secret
19

20   recordings of those interviews from his reporters and shared them with Weinstein to
21   be used to discredit victims of Weinstein’s sexual offenses. 70
22
             73.      Examples of Kroll’s participation in the Weinstein Sexual Enterprise
23

24   include the destruction of evidence. After Ambra Battilana Gutierrez, an Italian
25      68
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
26      69
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      70
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1   model, accused Weinstein of sexually assaulting her in 2015, Weinstein required her
 2
     to surrender all her personal devices to Kroll so that they could be wiped of evidence
 3

 4
     of a conversation in which Weinstein admitted to groping her. 71

 5           74.   Recent e-mails obtained by The New Yorker also purportedly show that
 6
     Dan Karson, the chairman of Kroll America’s Investigations and Disputes practice,
 7

 8   contacted Weinstein at his personal e-mail address with information intended to

 9   discredit Class Members.72
10
             75.   Another Intelligence Participant, Palladino & Sutherland (“Palladino”),
11

12   produced detailed profiles of various Class Members with information to be used to

13   undermine their credibility. Palladino sent Weinstein a 100+-page report in December
14
     2016, featuring McGowan’s address and other personal information, along with
15

16   sections labeled “Lies/Exaggerations/Contradictions,” “Hypocrisy,” “Potential

17   Negative Character Wits” [sic Witnesses], and “Past Lovers.” 73
18
             76.   Other unidentified Intelligence Participants prepared similar reports. One
19

20   such profile targeted Rosanna Arquette, an actress who later, in The New Yorker,
21   accused Weinstein of sexual harassment. The file mentions Arquette’s friendship with
22

23

24

25      71
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
26      72
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
27      73
           https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
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 1   McGowan, social-media posts about sexual abuse, and the fact that a family member
 2
     had gone public with an allegation that she had been molested as a child. 74
 3

 4   F.        The statute of limitations is tolled based on the continuing violations
               doctrine, equitable estoppel, and the duress under which Weinstein
 5             threatened the Class if they complained.
 6             77.   The power Weinstein wielded – and his ability to blacklist an actress for
 7
     complaining about his predatory behavior – was so legendary that it was the rule in the
 8
     entertainment industry that actresses needed to acquiesce to Weinstein to succeed.
 9

10   This rule was so widely accepted that male producers and actors laughingly voiced
11
     their expectations that Plaintiff and the Class had and would follow it to further their
12
     careers. For example, at the 2013 Academy Awards ceremony, Seth MacFarlane, the
13

14   creator of Family Guy, was onstage to announce the five nominees for best supporting
15
     actress when he stated: “Congratulations, you five ladies no longer have to pretend to
16

17
     be attracted to Harvey Weinstein.”75

18             78.   If actresses did not accede to his demands, “Weinstein and his associates
19
     used nondisclosure agreements, payoffs, and legal threats to suppress their
20

21   accounts.”76 This uniform response to those who challenged Weinstein’s behavior,

22   which was widely known throughout the industry, actually and reasonably placed
23

24        74
            https://www.newyorker.com/news/news-desk/harvey-weinsteins-army-of-spies.
25       75
            http://ew.com/tv/2017/10/11/seth-macfarlane-harvey-weinstein-jessica-barth/
26   (last accessed November 1, 2017).
         76
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
28
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 1   class members under duress and induced them to forebear asserting their legal rights in
 2
     response to Weinstein’s actions.
 3

 4
             79.   For example, Asia Argento, an Italian film actress and director, said that

 5   she did not speak out until 2017, after Weinstein had “forcibly performed oral sex on
 6
     her” years before, “because she feared that Weinstein would ‘crush’ her. ‘I know he
 7

 8   has crushed a lot of people before… That’s why this story—in my case, it’s twenty

 9   years old, some of them are older—has never come out.’”77
10
             80.   Four actresses, including Mira Sorvino and Rosanna Arquette, told The
11

12   New Yorker that “they suspected that, after they rejected Weinstein’s advances or

13   complained about them to company representatives, Weinstein had them removed
14
     from projects or dissuaded people from hiring them.” Multiple sources told the same
15

16   reporter that “Weinstein frequently bragged about planting items in media outlets

17   about those who spoke against him; these sources feared similar retribution.”
18
             81.   Several sources “pointed to Gutierrez’s case: after she went to the police,
19

20   negative items discussing her sexual history and impugning her credibility began
21   rapidly appearing in New York gossip pages. (In the taped conversation, part of which
22

23

24

25

26
        77
          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
28
                                            - 35 -
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 1   The New Yorker posted online, Weinstein asks Gutierrez to join him for “five
 2
     minutes,” and warns, “Don’t ruin your friendship with me for five minutes.”)”78
 3

 4
             82.   Women who spoke to The New Yorker on condition of anonymity “were

 5   too afraid to allow me to use their names, but their stories are uncannily similar to
 6
     these allegations. One, a woman who worked with Weinstein, explained her reluctance
 7

 8   to be identified. ‘He drags your name through the mud, and he’ll come after you hard

 9   with his legal team.’”79
10
             83.   Mira Sorvino, who rejected Weinstein’s advances and complained about
11

12   his harassment to Miramax “felt that saying no to Weinstein and reporting the

13   harassment had ultimately hurt her career.” She told a New Yorker reporter: “…I
14
     definitely felt iced out and that my rejection of Harvey had something to do with it.”80
15

16           84.   After Gwyneth Paltrow was harassed, she complained to her then-

17   boyfriend Brad Pitt, who confronted Weinstein. Weinstein subsequently called and
18
     berated Paltrow for disclosing what happened. Paltrow feared she would be fired from
19

20   the Miramax film Emma if she complained further.81
21

22      78
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
23   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
        79
24         https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
     sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
25      80
           https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
26   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
        81
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
27   harvey-weinstein.html?article-sidebar.
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 1           85.   After Judith Godrèche complained to a female producer at Miramax
 2
     about Weinstein’s harassment, she was told not to say anything so as not to endanger
 3

 4
     the release of the Miramax films in which she appeared.82

 5           86.   Darryl Hannah felt immediate repercussions from turning down
 6
     Weinstein’s advances and sexual demands. A Miramax plane on a film tour left
 7

 8   without her, her plane and hotel reservations were cancelled, and her hair and make-up

 9   artist was let go.83 Darryl Hannah was not about to let Weinstein’s actions go,
10
     however – she complained to her manager, a producer on the film, and her director,
11

12   Quentin Tarantino, who has since admitted that he did nothing.84 Nonetheless, Hannah

13   not only was not believed but also, consistent with the objectives of the Weinstein
14
     Sexual Enterprise, was “‘berated, criticized, and blamed.’”85
15

16           87.   Moreover, “Weinstein enforced a code of silence; employees of the

17   Weinstein Company have contracts saying they will not criticize it or its leaders in a
18

19

20

21

22      82
           https://www.nytimes.com/2017/10/10/us/gwyneth-paltrow-angelina-jolie-
23   harvey-weinstein.html?article-sidebar.
        83
24         https://www.newyorker.com/news/news-desk/weighing-the-costs-of-speaking-
     out-about-harvey-weinstein.
25      84
           https://www.newyorker.com/news/news-desk/weighing-the-costs-of-speaking-
26   out-about-harvey-weinstein.
        85
           https://www.newyorker.com/news/news-desk/weighing-the-costs-of-speaking-
27   out-about-harvey-weinstein.
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 1   way that could harm its ‘business reputation’ or ‘any employee’s personal reputation,’
 2
     a recent document shows.”86
 3

 4
             88.   Shortly before The New York Times and The New Yorker finally revealed

 5   the decades-long pattern of harassment, Weinstein and his legal team began calling
 6
     Class Members, threatening them for talking. They also threatened to sue The New
 7

 8   York Times and other media outlets.87

 9           89.   The type of emotional and physical abuse Weinstein used to command
10
     silence from his victims and cover up his assaults has been studied by psychologists.
11

12   Psychologists John Gottman and Neil Jacobsen, authors of When Men Batter Women

13   (first published in 1998 and reissued in 2007), extensively researched emotional abuse
14
     and domestic violence and created a 27-question survey designed to help doctors
15

16   establish whether patients were suffering from systematic abuse at the hands of a

17   partner. The four factors that determine emotional violence, Gottman and Jacobson
18
     concluded, were isolation, degradation, sexual abuse, and property damage. Each of
19

20   these factors can be found in Weinstein’s abuse of Plaintiff and the Class.
21           90.   The statute of limitations was thus tolled at least until The New York
22
     Times published a powerful report revealing allegations of sexual harassment against
23

24

25      86
            https://www.nytimes.com/2017/10/05/us/harvey-weinstein-harassment-
26   allegations.html.
         87
            https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
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 1   Weinstein, which led to the resignation of four members of TWC’s Board and to the
 2
     firing of Weinstein.
 3

 4
                                 V.    CLASS ALLEGATIONS

 5
             91.   Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

 6   23(b)(3) and 23(c)(4) on behalf of herself and the following Class:
 7
                   All women who (i) met with Harvey Weinstein in person to
 8                 audition for or to discuss involvement in a project to be
 9                 produced or distributed by The Weinstein Company
                   Holdings, LLC, and/or (ii) before September 30, 2005, met
10                 with Harvey Weinstein in person to audition for or to discuss
11                 involvement in a project to be produced or distributed by
                   Miramax LLC.
12

13           92.   The Class consists of dozens, if not hundreds, of women, making joinder

14   impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class
15
     and the identities of the individual members are ascertainable through records
16

17   maintained by Weinstein, the Complicit Producers, and members of the Weinstein

18   Sexual Enterprise. For example, one former employee of the Complicit Producers told
19
     The New Yorker that “she was asked to keep track of the women, who, in keeping with
20

21   a practice established by Weinstein’s assistants, were all filed under the same label in
22   her phone: F.O.H., which stood for ‘Friend of Harvey.’”88
23

24

25

26
        88
          https://www.newyorker.com/news/news-desk/from-aggressive-overtures-to-
27   sexual-assault-harvey-weinsteins-accusers-tell-their-stories.
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 1         93.     The claims of Plaintiff are typical of the Class. The claims of the Plaintiff
 2
     and the Class are based on the same legal theories and arise from the same unlawful
 3

 4
     pattern and practice of sexual harassment and assault.

 5         94.     There are many questions of law and fact common to the claims of
 6
     Plaintiff and the Class, and those questions predominate over any questions that may
 7

 8   affect only individual Class members within the meaning of Fed. R. Civ. P. 23(a)(2)

 9   and (c)(4).
10
           95.     Common questions of fact and law affecting members of the Class
11

12   include, but are not limited to, the following:

13                 a.    Whether Defendants engaged in a scheme with the Intelligence
14                       Participants, Law Firm Participants, Journalist Participants and
                         others to use false pretenses to tamper with victims and witnesses
15                       of Weinstein’s sexual misconduct in order to prevent the
16                       publication, prosecution or reporting of Weinstein’s sexual
                         misconduct and to destroy evidence.
17
                   b.    Whether Defendants violated RICO, 18 U.S.C. § 1962.
18

19                 c.    Whether Weinstein engaged in a pattern and practice of sexual
                         harassment, assault, and battery.
20
                   d.    Whether Weinstein’s pattern and practice of sexual harassment,
21
                         assault and battery was committed within the scope of his
22                       employment at Miramax or TWC.
23                 e.    Whether TWC or Miramax had knowledge of Weinstein’s pattern
24                       and practice of sexual harassment, assault, and battery.
25                 f.    Whether TWC or Miramax facilitated Weinstein’s pattern and
                         practice of sexual harassment, assault, and battery.
26

27                 g.    Whether TWC or Miramax ratified Weinstein’s pattern and
                         practice of sexual harassment, assault, and battery.
28
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 1                h.     Whether Weinstein, TWC or Miramax engaged in conduct
 2
                         designed to suppress complaints or reports regarding Weinstein’s
                         conduct.
 3
                  i.     Whether Miramax or TWC negligently retained or supervised
 4                       Weinstein.
 5
                  j.     Whether Miramax and TWC are responsible for Weinstein’s
 6                       conduct under the doctrine of respondeat superior.
 7
           96.    Absent a class action, most of the members of the Class would find the
 8
     cost of litigating their claims to be prohibitive and will have no effective remedy. The
 9

10   class treatment of common questions of law and fact is also superior to multiple
11
     individual actions or piecemeal litigation, particularly as to TWC and Miramax’s legal
12
     responsibility for Weinstein’s actions, in that it conserves the resources of the courts
13

14   and the litigants and promotes the consistency and efficiency of adjudication.
15
           97.    Plaintiff will fairly and adequately represent and protect the interests of
16
     the Class. Plaintiff has retained counsel with substantial experience in prosecuting
17

18   complex litigation and class actions. Plaintiff and her counsel are committed to
19
     vigorously prosecuting this action on behalf of the other Class members, and have the
20
     financial resources to do so. Neither Plaintiff nor her counsel have any interests
21

22   adverse to those of the other members of the Class.
23

24

25

26

27

28
                                            - 41 -
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 1                                  VI.     CAUSES OF ACTION
 2                                              COUNT I
 3
                              VIOLATION OF 18 U.S.C. § 1962(C)
 4                         (THE WEINSTEIN SEXUAL ENTERPRISE)
 5         98.       Plaintiff incorporates by reference all preceding paragraphs, as if fully set
 6   forth herein.
 7
           99.       Defendants are “persons” within the meaning of 18 U.S.C. § 1961(3) who
 8

 9   conducted the affairs of the enterprise through a pattern of racketeering activity in
10
     violation of 18 U.S.C. § 1962(c).
11
           100. The Weinstein Sexual Enterprise is an association-in-fact within the
12

13   meaning of 18 U.S.C. § 1961(4) consisting of (i) Defendants, including their
14
     employees and agents; (ii) the Weinstein Participants; (iii) the Intelligence
15
     Participants; (iv) the Firm Participants; (v) the Journalist Participants, (v) the Film
16

17   Participants, and other unnamed co-conspirators as set forth supra. The Weinstein
18
     Sexual Enterprise is an ongoing organization that functions as a continuing unit. The
19
     Weinstein Sexual Enterprise was created and used as a tool to effectuate Defendants’
20

21   02qk3-Jc (last accessed November 2, 2017). It is also availableistinct from the
22
     Weinstein Sexual Enterprise.
23
           101. The Weinstein Sexual Enterprise falls within the meaning of 18 U.S.C.
24

25   § 1961(4) and consists of a group of “persons” associated together for the common
26
     purpose of: (i) harassing, threatening, extorting, and misleading Weinstein’s victims
27
     and the media to prevent the reporting, disclosure, or prosecution of his sexual
28
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 1   misconduct, and (ii) destroying, mutilating, or concealing records, documents, or other
 2
     evidence to prevent the use of such evidence to report (or prosecute) his sexual
 3

 4
     offenses.

 5         102. Defendants have conducted and participated in the affairs of the
 6
     Weinstein Sexual Enterprise through a pattern of racketeering activity within the
 7

 8   meaning of 18 U.S.C. §§ 1961(1) and 1961(5), which includes multiple violations of

 9   instances tampering with a witness or victim in violation of 18 U.S.C. § 1512, as
10
     described above.
11

12         103. The Weinstein Sexual Enterprise engaged in and affected interstate

13   commerce, because, inter alia, Weinstein, TWC, and Miramax contracted with multi-
14
     national corporations not only for movie and television productions but also for the
15

16   investigation, slander, and blackmail of Weinstein’s victims.

17         104. Defendants exerted control over the Weinstein Sexual Enterprise, and
18
     Defendants participated in the operation or management of the affairs of the Weinstein
19

20   Sexual Enterprise.
21         105. Within the Weinstein Sexual Enterprise, there was a common
22
     communication network by which co-conspirators shared information on a regular
23

24   basis. The Weinstein Sexual Enterprise used this common communication network for
25   the purpose of enabling Weinstein’s sexual activities.
26
           106. Each participant in the Weinstein Sexual Enterprise had a systematic
27

28   linkage to each other participant through corporate ties, contractual relationships,
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 1   financial ties, and the continuing coordination of activities. Through the Weinstein
 2
     Sexual Enterprise, the Defendants and their co-conspirators functioned as a continuing
 3

 4
     unit with the purpose of furthering the illegal scheme and their common purposes.

 5         107. The RICO Defendants’ use of the mails and wires include but are not
 6
     limited to the transmission, delivery, or shipment of the following by the RICO
 7

 8   Defendants or third parties that were foreseeably caused to be sent as a result of

 9   Defendants’ illegal scheme:
10
           (a)    Contracts between Weinstein and the Law Firms and Intelligence
11                Participants;
12         (b)    Wires among the Complicit Producers about Weinstein’s sexual
                  misconduct; and
13         (c)    Wires and mails between the Law Firms and the Intelligence Participants
14
                  on the subject of Weinstein’s sexual activities, his victims, and
                  concealing his activities of sexual misconduct.
15

16         108. The RICO Defendants utilized the interstate and mail and wires for the
17   purpose of obtaining money or property by means of the omissions, false pretenses,
18
     and misrepresentations described therein.
19

20         109. The RICO Defendants also used the Internet and other electronic facilities
21
     to carry out the scheme and conceal the ongoing fraudulent activities.
22
           110. The RICO Defendants also communicated by U.S. Mail, by interstate
23

24   facsimile, and by interstate electronic mail with various other affiliates, regional
25
     offices, divisions, and other third-party entities in furtherance of the scheme.
26

27

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 1         111. The mail and wire transmissions described herein were made in
 2
     furtherance of Defendants’ scheme and common course of conduct to deceive the
 3

 4
     public about Weinstein’s sexual activities.

 5         112. To achieve their common goals, the RICO Defendants hid from the
 6
     general public the unlawfulness of Weinstein’s conduct and the RICO Defendants
 7

 8   suppressed and/or ignored warnings from third parties about his conduct.

 9         113. Defendants’ scheme and the above described racketeering activities
10
     amounted to a common course of conduct intended to cause Plaintiff and others to
11

12   hide and conceal Weinstein’s conduct. Each such racketeering activity was related,

13   had similar purposes, involved the same or similar participants and methods of
14
     commission, and had similar results affecting similar victims, including Plaintiff.
15

16   Defendants’ fraudulent activities are part of their ongoing business and constitute a

17   continuing threat to Plaintiff’s property.
18
           114. The pattern of racketeering activity alleged herein and Weinstein are
19

20   separate and distinct from each other. Defendants engaged in a pattern of racketeering
21   activity alleged herein for the purpose of conducting the affairs of the Weinstein
22
     Sexual Enterprise.
23

24         115. Plaintiff has been injured in her property and business by reason of these
25   violations. Defendants interfered with Plaintiff’s current and prospective contractual
26
     relations, because Plaintiff lost employment and employment opportunities as a result
27

28   of Weinstein’s termination of Plaintiff from the role she had been given. Had
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 1   members of the Weinstein Sexual Enterprise not been complicit and had they revealed
 2
     instead of concealed Weinstein’s predatory behavior, Plaintiff and members of the
 3

 4
     Class would not have been injured. Thus, Plaintiff’s injuries were directly and

 5   proximately caused by Defendants’ racketeering activity, as described above.
 6
           116. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are
 7

 8   liable to Plaintiff for three times the damages Plaintiff has sustained, plus the cost of

 9   this suit, including reasonable attorneys’ fees.
10
                                             COUNT II
11
                         VIOLATION OF 18 U.S.C. § 1962(D) BY
12                    CONSPIRING TO VIOLATE 18 U.S.C. § 1962(C)
13                     (THE WEINSTEIN SEXUAL ENTERPRISE)

14         117. Plaintiff incorporates by reference all preceding paragraphs, as if fully set
15   forth herein.
16
           118. Section 1962(d) of RICO provides that it “shall be unlawful for any
17

18   person to conspire to violate any of the provisions of subsection (a), (b) or (c) of this
19   section.”
20
           119. Defendants have violated section 1962(d) by conspiring to violate 18
21

22   U.S.C. § 1962(c). The object of this conspiracy has been and is to conduct or
23
     participate in, directly or indirectly, the conduct of the affairs of the section 1962(c)
24
     Enterprise described previously through a pattern of racketeering activity.
25

26         120. As demonstrated in detail above, Defendants’ co-conspirators, including,
27
     but not limited to, the Weinstein Participants, the Intelligence Participants, the Law
28
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 1   Firm Participants, the Film Participants, and the Journalist Participants have engaged
 2
     in numerous overt and predicate fraudulent racketeering acts in furtherance of the
 3

 4
     conspiracy, including multiple instances of tampering with a victim or witness in

 5   violation of 18 U.S.C. § 1512.
 6
           121. The nature of the above-described Defendants’ co-conspirators’ acts in
 7

 8   furtherance of the conspiracy gives rise to an inference that they not only agreed to the

 9   objective of an 18 U.S.C. § 1962(d) violation of RICO by conspiring to violate 18
10
     U.S.C. § 1962(c) but also were aware that their ongoing fraudulent acts have been and
11

12   are part of an overall pattern of racketeering activity. At all relevant times, all

13   Defendant and all Defendants’ co-conspirators were aware of the essential nature and
14
     scope of the Weinstein Sexual Enterprise and intended to participate in it.
15

16         122. As a direct and proximate result of Defendants’ overt acts and predicate

17   acts in furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C.
18
     § 1962(c), Plaintiff has been and is continuing to be injured in her business or
19

20   property, as set forth more fully above.
21         123. Defendants have sought to and have engaged in the violations of the
22
     above federal laws and the effects thereof detailed above are continuing and will
23

24   continue unless injunctive relief prohibiting Defendants’ illegal acts constituting a
25   pattern of racketeering activity is fashioned and imposed by the Court.
26

27

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 1                                         COUNT III
 2
                      NEGLIGENT SUPERVISION AND RETENTION
 3                              VERSUS MIRAMAX
 4         124.    Plaintiff restates and incorporates herein by reference the preceding
 5   paragraphs as if fully set forth herein. Plaintiff brings Count III under California law
 6
     against Miramax.
 7

 8         125.    At all times material prior to September 30, 2005, Miramax employed
 9
     Weinstein and Weinstein was an executive and/or director of Miramax.
10
           126. Weinstein was unfit or incompetent to work directly with female actresses
11

12   and posed a particular risk of sexually harassing and assaulting them.
13
           127. Miramax knew or should have known that Weinstein was unfit or
14
     incompetent to work directly with female actresses and posed a particular risk of
15

16   sexually harassing and assaulting them, and that this unfitness created a particular risk
17
     to Plaintiff and the Class.
18
           128. Weinstein’s unfitness and particular risk to female actresses harmed
19

20   Plaintiff and the Class.
21
           129. Miramax’s negligence in supervising and or retaining Weinstein was a
22
     substantial factor in causing harm to Plaintiff and the Class.
23

24

25

26

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 1                                         COUNT IV
 2
                CIVIL BATTERY VERSUS WEINSTEIN AND MIRAMAX
 3
           130. Plaintiff restates and incorporates herein by reference the preceding
 4
     paragraphs as if fully set forth herein. Plaintiff brings this Count V against Weinstein
 5

 6   and Miramax for the period prior to September 30, 2005.
 7
           131. Weinstein intended to commit an act of unwanted contact and/or caused
 8
     imminent apprehension of such an act against Plaintiff and the Class Members. He did
 9

10   so by, inter alia:
11
                  a.      Isolating Plaintiff and Class Members in closed quarters and
12                        dismissing any bystanders; and
13                b.      Demanding or threatening sexual contact.
14
           132. Weinstein did commit an unwanted contact with Plaintiff and the Class
15

16
     Members’ person or property in a harmful or offensive manner, including, but not

17   limited to, causing sexual contact between Weinstein and each Class Member.
18
           133. Weinstein’s battery of Plaintiff and the Class caused harm, including
19

20
     physical, mental, and/or emotional harm of each Class Member.

21         134. Weinstein’s conduct was committed within the scope of his employment
22
     at Miramax. A causal nexus existed between Weinstein’s grooming of young actresses
23

24   to play parts in Miramax’s productions and his abuse of his power to coerce and batter

25   those actresses. Each act of battery of a Class Member lured with the prospect of
26
     being cast in a Miramax production was foreseeable given, inter alia, the use of
27

28
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 1   Miramax employees to lure the victims and the commission of the acts on Miramax
 2
     property or at locations paid for by Miramax.
 3

 4
           135. Weinstein’s conduct is not so unusual or startling that it would seem

 5   unfair to include the loss resulting from it among other costs of Miramax’s business.
 6
     Assaults in the context of the “casting couch” are exactly why female actresses would
 7

 8   expect production companies to take extra precautions to ensure that they are

 9   protected from the coercive power and lure of a powerful executive promising fame.
10
           136. Holding Miramax liable furthers the policy goals of respondeat superior,
11

12   including the prevention of future injuries and the assurance of compensation to

13   victims, given that Plaintiff and the Class Members do not have separate remedies
14
     under Title VII because they were not employees of Miramax.
15

16                                          COUNT V
17                     ASSAULT VERSUS WEINSTEIN AND MIRAMAX
18         137. Plaintiff restates and incorporates herein by reference the preceding
19
     paragraphs as if fully set forth herein. Plaintiff brings this Count VII against Weinstein
20

21   and Miramax for the period prior to September 30, 2005.

22         138. Weinstein intended to cause apprehension of harmful or offensive
23
     conduct against Plaintiff and the Class Members. He did so by, inter alia:
24

25                a.     Isolating Plaintiff and Class Members in closed quarters and
                         dismissing any bystanders;
26
                  b.     Demanding or threatening sexual contact;
27

28
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 1                c.    Cornering, chasing, blocking, or otherwise using his heft to cause
 2
                        Plaintiff and the Class to fear that Weinstein had the ability to carry
                        out his physical threats; and
 3
                  d.    Threatening harm to the careers and reputations of Plaintiff and
 4                      Class Members if they did not participate in such conduct.
 5
           139. Weinstein’s actions did, in fact, cause Plaintiff and the Class Members to
 6

 7   fear imminent harmful or offensive contact by Weinstein.

 8         140. Weinstein’s conduct was committed within the scope of his employment
 9
     at Miramax. A causal nexus existed between Weinstein’s grooming of young actresses
10

11   to play parts in Miramax’s productions his abuse of his power to coerce and batter

12   those actresses. Each act of assault of a Class Member lured with the prospect of
13
     being cast in a Miramax production was foreseeable given, inter alia, the use of
14

15   Miramax employees to lure the victims and the commission of the acts on Miramax

16   property or at locations paid for by Miramax.
17
           141. Weinstein’s conduct is not so unusual or startling that it would seem
18

19   unfair to include the loss resulting from it among other costs of Miramax’s business.
20   Assaults in the context of the “casting couch” are exactly why female actresses would
21
     expect production companies to take extra precautions to ensure that they are
22

23   protected from the coercive power and lure of a powerful executive promising fame.
24         142. Holding Miramax liable advances the policy goals of respondeat
25
     superior, including the prevention of future injuries and the assurance of
26

27

28
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 1   compensation to victims, given that Plaintiff and the Class Members do not have
 2
     separate remedies under Title VII because they were not employees of Miramax.
 3

 4                                         COUNT VI

 5             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      VERSUS WEINSTEIN AND MIRAMAX
 6
           143. Plaintiff restates and incorporates herein by reference the preceding
 7

 8   paragraphs as if fully set forth herein. Plaintiff brings this Count VI against Weinstein
 9
     and Miramax for the period prior to September 30, 2005.
10
           144. Weinstein’s extreme and outrageous conduct intentionally or recklessly
11

12   caused severe emotional distress to Plaintiff and the Class Members.
13
           145. Weinstein’s outrageous conduct was not the type of ordinary rude or
14
     obnoxious behavior that women should be expected to weather. Rather, Weinstein’s
15

16   conduct exceeded all possible bounds of decency.
17
           146. Weinstein acted with intent or recklessness, knowing that his female
18
     victims were likely to endure emotional distress. Indeed, he used this distress to
19

20   subdue and threaten the women and prevent them from complaining or suing based on
21
     his actions. He did so with deliberate disregard as to the high possibility that severe
22
     emotional distress would occur.
23

24         147. Weinstein’s conduct caused suffering for Plaintiff and the Class Members
25
     at levels that no reasonable person should have to endure.
26

27

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 1         148. Weinstein’s conduct was committed within the scope of his employment
 2
     at Miramax. A causal nexus existed between Weinstein’s grooming of young actresses
 3

 4
     to play parts in Miramax’s productions his abuse of his power to coerce and batter

 5   those actresses. Each act of intentional infliction of emotional distress of a Class
 6
     Member lured with the prospect of being cast in a Miramax production was
 7

 8   foreseeable given, inter alia, the use of Miramax employees to lure the victims and the

 9   commission of the acts on Miramax property or at locations paid for by Miramax.
10
           149. Weinstein’s conduct is not so unusual or startling that it would seem
11

12   unfair to include the loss resulting from it among other costs of Miramax’s business.

13   The intentional infliction of emotional distress in the context of the “casting couch” is
14
     exactly why female actresses would expect production companies to take extra
15

16   precautions to ensure that they are protected from the coercive power and lure of a

17   powerful executive promising fame.
18
           150. Holding Miramax liable advances the policy goals of respondeat
19

20   superior, including the prevention of future injuries and assurance of compensation to
21   victims, given that Plaintiff and the Class Members do not have separate remedies
22
     under Title VII because they were not employees of Miramax.
23

24

25

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 1                                         COUNT VII
 2         NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS VERSUS
 3                      WEINSTEIN AND MIRAMAX

 4         151. Plaintiff restates and incorporates herein by reference the preceding

 5   paragraphs as if fully set forth herein. Plaintiff brings this Count VII against Weinstein
 6
     and Miramax for the period prior to September 30, 2005.
 7

 8         152. Weinstein’s conduct negligently caused emotional distress to Plaintiff and
 9   the Class Members.
10
           153. Weinstein could reasonably foresee that his action would have caused
11

12   emotional distress to Plaintiff and the Class Members.
13         154. Plaintiff and the Class Members were in a specific zone of danger
14
     meeting with Weinstein and at risk of physical harm, causing their fear.
15

16         155. Plaintiff and the Class Members, immediately or shortly after meeting
17   with Weinstein, suffered distress and emotional harm.
18
           156. Weinstein’s conduct was committed within the scope of his employment
19

20   at Miramax. A causal nexus existed between Weinstein’s grooming of young actresses
21
     to play parts in Miramax’s productions his abuse of his power to coerce and batter
22
     those actresses. Each act of negligent infliction of emotional distress of a Class
23

24   Member lured with the prospect of being cast in a Miramax production was
25
     foreseeable given, inter alia, the use of Miramax employees to lure the victims and the
26
     commission of the acts on Miramax property or at locations paid for by Miramax.
27

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 1           157. Weinstein’s conduct is not so unusual or startling that it would seem
 2
     unfair to include the loss resulting from it among other costs of Miramax’s business.
 3

 4
     The negligent infliction of emotional distress in the context of the “casting couch” is

 5   exactly why female actresses would expect production companies to take extra
 6
     precautions to ensure that they are protected from the coercive power and lure of a
 7

 8   powerful executive promising fame.

 9           158. Holding Miramax liable advances the policy goals of respondeat
10
     superior, including the prevention of future injuries and the assurance of
11

12   compensation to victims, given that Plaintiff and the Class Members do not have

13   separate remedies under Title VII because they were not employees of Miramax.
14
                                          COUNT VIII
15
                            RATIFICATION VERSUS MIRAMAX
16

17
             159. Plaintiff restates and incorporates herein by reference the preceding

18   paragraphs as if fully set forth herein. Plaintiff brings this Count XIII against Miramax
19
     for ratification of Weinstein’s sexual misconduct for the period before September 30,
20

21   2005.

22           160. Weinstein was an agent and employee of Miramax prior to September 30,
23
     2005.
24

25           161. At the time of the acts prior to September 30, 2005, there was an actual or

26   assumed agency relationship between Weinstein and Miramax.
27

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 1         162. All acts or omissions alleged for the period before September 30, 2005
 2
     were ratified by Miramax. Miramax had investigated or knew of the acts and
 3

 4
     omissions of Weinstein, and Miramax's employees, managers, supervisors, executives,

 5   and directors were informed that Weinstein was sexually abusing female actors and
 6
     refused to take any action to stop him. Moreover, Miramax’s managers, supervisors,
 7

 8   executives, and directors hid this information so that Weinstein could continue to work

 9   for Miramax.
10
           163. Despite knowledge of Weinstein’s sexual misconduct, no disciplinary
11

12   action was taken and he was allowed to be alone with women who were prospective or

13   actual actors in Miramax productions.
14
           164. Miramax is thus responsible for Weinstein’s acts of assault, battery, and
15

16   intentional or negligent infliction of emotional distress.

17   ///
18

19

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 1

 2
                                     PRAYER FOR RELIEF
 3
           WHEREFORE, Plaintiff, individually and on behalf of all Class Members prays
 4

 5   that this Court:

 6         1.     Certify the Class pursuant to Fed. R. Civ. P. 23(c)(4) for liability and
 7
     reserve damages and pursuant to Fed. R. Civ. P. 23(b)(2) for injunctive relief, name
 8

 9   Plaintiff as representative of the Class, and appoint her lawyers as Class Counsel;
10         2.     Enter judgment against Harvey Weinstein on liability on Counts I-VIII in
11
     favor of Plaintiff and the Class;
12

13         3.     Enter judgment against Miramax LLC on liability on Counts I-VIII in
14   favor of Plaintiff and the Class;
15
           4.     Enter judgment against The Weinstein Company Holdings LLC on
16

17   liability on Counts I and II in favor of Plaintiff and the Class;
18         5.     In individual damage proceedings and prove-ups, award Plaintiff and the
19
     Class Members damages for pain and suffering, and compensatory and punitive
20

21   damages.
22
     DATED: November 15, 2017               THE ARMENTA LAW FIRM, APC
23
                                            By: /s/ M. Cris Armenta
24                                          M. Cris Armenta
                                            Credence E. Sol
25                                          1230 Rosecrans Ave, Suite 300
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